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                             EXHIBIT 30
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   The Times of India, November 6, 2001

   LENGTH: 244 words

   HEADLINE: WAMY SETS ITS FOOT IN HYDERABAD

   BYLINE: SHAIK AHMED ALT

   BODY:

   HYDERABAD: The World Assembly of Muslims Youth WAMY), a Riyadh-
   based organization accused of funding several terrorist organizations, is
   providing both monetary and logistic support to a few Muslim
   organizations in the city.

   The intelligence wings of both the State and city police went on alert on
   learning that WAMY is indeed funding a few organizations in Hyderabad
   and had even sponsored recent trips of a few prominent Muslim leaders
   to Saudi Arabia. It also funded the publication of some literature and
   other propaganda material.

   According to information available with The Times of India, a few
   persons have been working for WAMY although they are not its regular
   members. The agents are said to be sending Muslim youth from the city




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   for training in Pakistan. Some of the youth, arrested by the city police
   recently, confessed that WAMY had sponsored their trips.

   WAMY is reportedly providing funds for several organizations including
   Laskhar-e-Toiba (LeT) and Jaish-e-Mohammed (JeM), besides the
   Students Islamic Movement of India (SIMI), all banned by the Centre.

   Police officials say that WAMY has its presence in Delhi, Mumbai,
   Thirvuanathapuram, Lucknow, Aligarh, besides Hyderabad. It had its
   offices in Mumbai and Delhi which were closed soon after the Centre
   i mposed a ban on SIMI. Intelligence agencies are planning to submit a
   report on their findings about WAMY's activities the city to the Centre by
   the end of this month.




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